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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY


REDI-DATA, INC.,                                 Case No. 2:20-CV-17484-JMV-JBC

                      Plaintiff,                 NOTICE OF MOTION OF
                                                 DEFENDANT THE
          -against-                              SPAMHAUS PROJECT SLU
                                                 TO DISMISS PLAINTIFF’S
THE SPAMHAUS PROJECT a/k/a THE                   COMPLAINT
SPAMHAUS PROJECT LTD.,
                                                Motion Date: January 18, 2022
                      Defendant.                Document Electronically Filed




      PLEASE TAKE NOTICE that on January 18, 2022, or as soon thereafter as

counsel may be heard, Defendant The Spamhaus Project S.L.U. shall move before

the Honorable John Michael Vasquez, U.S.D.J., for an order dismissing Plaintiff’s

Complaint pursuant to Federal Rule of Civil Procedure 12(b)(2).

      PLEASE TAKE FURTHER NOTICE that, in support of the Motion,

Defendant The Spamhaus Project S.L.U. shall rely upon the accompanying
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Memorandum of Law in support of the Motion and the Declaration of Stephen John

Lindford, dated December 22, 2021, and will seek entry of the proposed form of

order submitted herewith.


Dated:   December 23, 2021

                                    MORRISON COHEN LLP

                                    By:   /s/ Alvin C. Lin
                                        Alvin C. Lin
                                        (NJ ID No. 017502000)
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